              Case 23-10815-LSS                 Doc 384         Filed 09/08/23           Page 1 of 1


UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      23-10815

      Peer Street, Inc.




      Case Type :                       bk
      Case Number :                     23-10815
      Case Title :                      Peer Street, Inc.
      Judge :                           Laurie S. Silverstein
      Courtroom :                       6th Floor Courtroom 2, Wilmington, DE
      Audio Date\Time :                 9/8/2023 11:00:08 AM
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